                  Case
                  Case 1:15-cv-00574-PAB
                       1:15-cv-00574-PAB Document
                                         Document 26
                                                  25 Filed
                                                     Filed 10/30/18
                                                           09/20/18 USDC
                                                                    USDC Colorado
                                                                         Colorado Page
                                                                                  Page 1
                                                                                       2 of
                                                                                         of 2
                                                                                            3
*** NOTE: IT IS YOUR RESPONSIBILITY TO SET THE TIME (ANY TUESDAY, WEDNESDAY, OR THURSDAY AT 8:30, 9:00 OR 9:30 A.M.) FOR
          APPEARANCE BEFORE THE CLERK FOR TAXATION.

AO 133(Rev. 12/09) Bill of Costs
USDC Colo. Version – (Further Rev. (12/01/2013)

                                                                               BILL OF COSTS
                                                                                            DISTRICT
                   United States District Court                                                                           DISTRICT OF COLORADO
                                                                                            DOCKET NO.
Stephen Hughs                                                                                               1:15-cv-00574-PAB
                                                                                                                   UN
                                                                                                                     IT
  v.                                                                                                         ED
                                                                                            MAGISTRATE CASE NO.  ST         F
Oxford Law, LLC                                                                                              DE ATE ILED
                                                                                                                 NV         S
                                                                                                    JE                ER DIS
        Judgment having been entered in the above entitled action on September 6, 2018                 FF      O  c       ,C
                                                                                                                             O
                                                                                                                                 TR
                                                                                                                                     IC
                                                                                                              Y P t. 30 LOR T C
                                                                                                          RE
        against Oxford Law, LLC                                                                                      CO , 20 costs:
                                                                                     the clerk is requested to tax. the following asA DO OUR
                                                                                                                                 1
                                                                                                                                                                                   ✓
                                                                                                                         LW                 T
                                                                      BILL OF COSTS                                           EL 8
        Fees of the clerk Awarded by clerk as standard 28 U.S.C .§ 1920(1) cost. See Docket Entry 1, , CL $
                                                                                                                                L                                           400.00
                                                                                                                                      ER
                          filing fee Receipt No. 1082-4324960 for $400.00.
                                                                                                                                                                                     ✓
                                                                                                                                         K
           Fees for service of summons and complaint                                                                                                      $                  52.00
            Costs for private vendor service of process are awardable. See In re Air Crash Disaster at
           Fees of the court reporter for all or any part of the transcript necessarily obtained for use in the case                                      $
            Stapleton Int’l Airport, Denver, Colo., on Nov. 15, 1987, 1989 WL 259995, at 4 (D.Colo. July 24, 1989).
           Fees and disbursements for printing                                                                                                            $


           Fees for witnesses (itemized on reverse side)                                                                                                  $


           Fees for exemplification and copies of papers necessarily obtained for use in the case                                                         $


           Docket fees under 28 U.S.C. § 1923                                                                                                             $


           Costs incident to taking of depositions                                                                                                        $


           Costs as shown on Mandate of Court of Appeals                                                                                                  $


           Other costs (Please itemize)                                                                                                                   $




           Please review and comply with D.C.COLO.LCivR .54.1

           (See Notice section on reverse side)                                                                                                                                      ✓
                                                                                                                           TOTAL              $                           452.00
                                                                             DECLARATION
              I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the services for which fees
           have been charged were actually and necessarily performed. A copy hereof was this day mailed with postage fully prepaid thereon to:

           Signature of Attorney        s/Amy L. Bennecoff Ginsburg
           Print Name                                                                              Phone Number
                         Amy L. Bennecoff Ginsburg                                                                    267-468-7660

           For:           Stephen Hughs                                                            Date               September 20, 2018

                                                                                                                                            30
                         Name of Claiming Party



Please take notice that I will appear before the Clerk who will tax said costs Date and Time October                                       29, 2018 at 8:30 a.m.
on the following day and time:
Costs are hereby taxed in the following amount and included in the judgment: Amount Taxed $
                                                                            452.00
Counsel Amy L. B. Ginsburg requests leave to appear by phone. (BY) DEPUTY CLERK
CLERK OF COURT                                                              s/Edward P. Butler
                    267-468-7660.
JEFFREY P. COLWELL Counsel for Plaintiff appeared             DATE:         Oct. 30, 2018
                     by phone. No appearance by
                     defendant or counsel for
                     defendant.
 Case1:15-cv-00574-PAB
Case  1:15-cv-00574-PAB Document
                         Document25-1
                                  26 Filed
                                      Filed10/30/18
                                            09/20/18 USDC
                                                      USDCColorado
                                                           Colorado Page
                                                                     Page21ofof21
